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AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                               District of &ROXPELD

                  United States of America                                 )
                             v.                                            )
William Pope, (DOB: XXXXXXXXX)                                             )       Case No.
Michael Pope, (DOB: XXXXXXXX)                                              )
                                                                           )
                                                                           )
                                                                           )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      January 6, 2021                   in the county of                                    in the
                          LQWKH'LVWULFWRI        &ROXPELD , the defendant(s) violated:

             Code Section                                                             Offense Description
             18 U.S.C. 1512(c)(2)- Obstructing or Impeding Any Official Proceeding
             18 U.S.C. 231(a)(3)- Civil Disorder
             18 U.S.C. 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
             18 U.S.C. 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
             40 U.S.C. 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building
             40 U.S.C. 5104(e)(2)(E)- Impeding Passage Through the Capitol Grounds or Buildings
             40 U.S.C. 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u    Continued on the attached sheet.


                                                                                                           Complainant’s signature

                                                                                                  Clay Chase, Special Agent
                                                                                                           Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                                       2021.02.10
Date:
                                                                                                                       12:56:56 -05'00'
                  02/10/2021
                                                                                                              Judge’s signature

City and state:                         :DVKLQJWRQ'&                             Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                           Printed name and title
